
47 So.3d 967 (2010)
Laura SWEET, Appellant,
v.
HSBC BANK, N.A., etc., Appellee.
No. 3D10-314.
District Court of Appeal of Florida, Third District.
November 24, 2010.
David S. Cohen and Jose L. Benson, Winter Park, for appellant.
Butler &amp; Hosch, Dennis W. Moore, and Thomasina F. Moore, for appellee.
Before GERSTEN, SUAREZ and CORTIÑAS, JJ.
PER CURIAM.
Affirmed. See § 90.902(4), Fla. Stat. (2009); Fla. R. Civ. P. 1.120(c), 1.140(b).
